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15

16                              UNITED STATES DISTRICT COURT

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                   SAN FRANCISCO DIVISION

19

20   URSULA FREITAS, individual, on behalf of              Case No. 3:19-cv-07270-WHA-AGT
     herself and others similarly situated,
21
     Plaintiffs,                                           DECLARATION OF KEVIN
22                                                         RANLETT IN SUPPORT OF
     v.                                                    DEFENDANT CRICKET WIRELESS
23                                                         LLC’S AGREED ADMINISTRATIVE
     CRICKET WIRELESS, LLC,                                MOTION TO FILE DOCUMENTS
24                                                         UNDER SEAL
                            Defendant.
25
                                                           Judge: Hon. William H. Alsup
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     DECLARATION OF KEVIN RANLETT IN SUPPORT OF DEFENDANT CRICKET WIRELESS, LLC’S AGREED ADMINISTRATIVE
     MOTION TO FILE DOCUMENTS UNDER SEAL; CASE NO. 3:19-CV-07270-WHA
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 1          I, Kevin Ranlett, declare as follows:
 2          1.      I have personal knowledge of the facts set forth in this declaration and, if called
 3   upon to do so, could and would testify competently thereto.
 4          2.      I am a partner at Mayer Brown, one of the counsel of record for defendant Cricket
 5   Wireless, LLC (“Cricket”) in this matter.
 6          3.      Pursuant to Civil Local Rule 79-5(d)(1)(A), I submit this declaration in support of
 7   Defendant Cricket’s Administrative Motion to File Documents Under Seal.
 8          4.      The documents at issue consist of private information regarding hundreds of
 9   thousands current and former Cricket customers, including their names, states, addresses, and
10   Cricket account numbers.
11          5.      When the underlying information (the customer names, states, and account
12   numbers) were produced in this litigation, they were marked confidential under the Stipulated
13   Protective Order in this action. Further, Cricket has consistently sought to protect the disclosure
14   of this information throughout the course of this litigation. Dkt. 71.
15          6.      On December 22, 2021 and January 6, 2022, I met and conferred with Tyler
16   Hudson, counsel for plaintiffs, regarding Cricket’s request for leave to file this information under
17   seal. On January 6, 2022, Mr. Hudson confirmed that plaintiffs consent to this request.
18          I declare under penalty of perjury under the laws of the United States that the foregoing is
19   true and correct.
20          Executed on January 7, 2022 in Austin, Texas.
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22                                                          _/s Kevin Ranlett____________________
                                                              Kevin Ranlett
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      DECLARATION OF KEVIN RANLETT IN SUPPORT OF DEFENDANT CRICKET WIRELESS LLC’S AGREED ADMINISTRATIVE
      MOTION TO FILE DOCUMENTS UNDER SEAL; CASE NO. 3:19-CV-07270-WHA
